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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X   Case No.: 1:18-cv-06400 – (MKB)(ST)
SVETLANA SHKOLNIKOVA,

                                    Plaintiff,

                        - against -

UNITED STATES POSTAL SERVICE and LOUIS
DEJOY, POSTMASTER GENERAL

                                     Defendants.
------------------------------------------------------------------------X

                                           NOTICE OF APPEARANCE

       To the clerk of this court and all parties of record: Please enter my appearance as a
counsel for Plaintiff in the herein action. I certify that I am admitted to practice in this court.


Dated: New York, New York
       August 3, 2021

                                                                      PHILLIPS & ASSOCIATES,
                                                                      ATTORNEYS AT LAW, PLLC



                                                              By:     __/s/_Hannah Kucine___
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